   Case 18-50037              Doc 13     Filed 05/15/18 Entered 05/15/18 14:48:27                    Desc Main
                                           Document     Page 1 of 1
                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________

In re:
                                                                                             BKY 18-50037
Brian A. Lerbakken,
                                                                      Chapter 7
            Debtor.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

                This case is before the court on the motion of Sieloff and Associates, P.A., objecting

to the debtor’s claim of exempt property in a 401K account with Wells Fargo and in the IRA

account.

                Based on the motion and the file,

                IT IS ORDERED:




                The debtor’s claim of exemptions in the 401K account with Wells Fargo and in

                       the IRA account is disallowed.




Dated: May 15, 2018
                                                     /e/ Robert J. Kressel
                                                     ________________________________________
                                                     United States Bankruptcy Judge



                                                                    NOTICE OF ELECTRONIC ENTRY AND
                                                                    FILING ORDER OR JUDGMENT
                                                                    Filed and Docket Entry made on05/15/2018
                                                                    Lori Vosejpka, Clerk, by AMM




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